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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re:

                                                      Chapter 11
 ORION HEALTHCORP, INC. et al.,
                     Debtors.                         Case No. 18-71748 (AST)
 HOWARD M. EHRENBERG, IN HIS
 CAPACITY AS LIQUIDATING
                 Debtors. TRUSTEE OF
 ORION HEALTHCORP, INC., ET AL.,
                     Plaintiff,
 v.                                                   Adv. Proc. No. 20-08049 (AST)
 ARVIND WALIA; NIKNIM MANAGEMENT
 INC.,


                     Defendants.




      NOTICE OF DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
              DISMISSING CLAIMS ASSERTED UNDER 11 U.S.C. § 544
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                PLEASE TAKE NOTICE, that upon the annexed motion (the “Motion”) of

defendants Arvind Walia and Niknim Management Inc. (“Movants”), a hearing will be held before

the Honorable Alan S. Trust, Chief United States Bankruptcy Judge, United States Bankruptcy

Court for the Eastern District of New York, located at Alfonse M. D’Amato Federal Courthouse,

290 Federal Plaza, Central Islip, New York 11722, at a date and time to fixed by the Court to

consider the Movants’ motion for partial summary judgment dismissing the claims asserted in

plaintiff’s First Amended Complaint under 11 U.S.C. § 544.

                PLEASE TAKE FURTHER NOTICE, that any objection to the relief requested

in the Motion must conform with the Bankruptcy Code and the Bankruptcy Rules, shall be in

writing, and shall set forth the reasons and legal basis for the objection, and be filed and served

upon Rosen & Associates, P.C. and the Law Offices of Eugene R. Scheiman, PLLC, attorneys

for Movants, by regular and electronic mail, by February 22, 2023 at 5:00 p.m. prevailing

Eastern Time.

Dated: New York, NY
      January 18, 2023
                                                      Respectfully Submitted,

                                                      ROSEN & ASSOCIATES, P.C.
                                                      Counsel to Arvind Walia and
                                                        Niknim Management Inc.

                                                      By: /s/ Sanford P. Rosen
                                                              Sanford P. Rosen
                                                      747 Third Avenue
                                                      New York, NY 10017-2803
                                                      (212) 223-1100



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